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                                    UNITED STATES DISTRICT COURT
           14
                          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           15
           16       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           17       CERCACOR LABORATORIES, INC.,                  APPLE’S OBJECTIONS TO SPECIAL
                    a Delaware corporation,                       MASTER ORDER NO. 15
           18
                                       Plaintiffs,
                                                                  Date: October 17, 2022
           19
                          v.                                      Time: 1:30 p.m.
           20
                    APPLE INC.,
                    a California corporation,                     Non-Expert Discovery Cut-Off: Aug. 12,
           21
                                                                  2022
           22                          Defendant.                 Pre-Trial Conference: Mar. 13, 2023
                                                                  Trial: Mar. 27, 2023
           23
           24                              REDACTED VERSION OF
           25                     DOCUMENT PROPOSED TO BE FILED UNDER SEAL

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             1                                        I.    INTRODUCTION
             2               Apple objects to Special Master Order No. 15, which requires Apple to produce a
             3      wide range of documents and information related to non-party Rockley Photonics
             4      (“Rockley”).1
             5               Last month, this Court rejected Plaintiffs’ attempt to introduce, after the deadline
             6      for written discovery, a new legal theory regarding Rockley’s alleged involvement in
             7      this case—i.e., that Apple “exerted control over the True Wearables litigation … through
             8      a proxy, Rockley Photonics.” See Dkt. 896 at 2, 4-6. This Court explained that by
             9      raising this theory for the first time in a motion to enforce a subpoena against Rockley—
           10       which was filed “[f]ollowing the written discovery cut-off”—Plaintiffs “introduced this
           11       theory too late under any standard.” Id. at 5. And yet, three days after this Court’s ruling
           12       and three hours before the cut-off for fact discovery, Plaintiffs filed a motion to compel
           13       discovery into Rockley, primarily on an alternate legal theory that was also already
           14       raised for the first time in Plaintiffs’ motion to enforce the subpoena against Rockley:
           15       Rockley was collaborating with Apple to jointly misappropriate Plaintiffs’ trade secrets.
           16       Dkt. 908-3 at 3-4. Plaintiffs’ motion to compel to the Special Master did not so much
           17       as mention this Court’s ruling.
           18                The Special Master’s ruling granting Plaintiffs’ eleventh-hour motion was error
           19       for three reasons. First, it was barred by this Court’s August 9, 2022 ruling. While that
           20       ruling specifically addressed collateral estoppel, its reasoning applies with equal force
           21       here, given Plaintiffs are making the same attempt to “advance different legal theories
           22       and require proof of different facts” “after the written-discovery cut-off.” Dkt. 896 at 6.
           23       The Special Master’s alternative theory of relevance—namely, that the requested
           24       information is “at least marginally relevant” because the technology in this case “relates”
           25       in some unspecified way to what Rockley supplied to Apple—suffers from the same
           26
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           27        This brief does not redact Rockley’s name in light of this Court’s ruling granting
                    Apple’s ex parte application for a stay, which expressly mentions Rockley by name.
           28       See Dkt. 914.

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             1      problem in that Rockley was not mentioned in any way in any briefing in this case before
             2      the written-discovery cut-off.
             3            Second, even if the August 9 order does not control, the Special Master’s theory
             4      of “relate[dness]” and “marginal[] relevan[ce]” is flawed. This theory could support
             5      invasive, expansive discovery into numerous Apple vendors where no basis exists to
             6      support a misappropriation claim. That is the circumstance here. Not one of the twenty-
             7      four Apple witnesses deposed by Plaintiffs have identified any connection between
             8      Rockley’s technology and this litigation, and an Apple executive and 30(b)(6) witness
             9      testified that the technology
           10
           11
           12             Third, at a minimum, Plaintiffs’ discovery requests are not proportional to the
           13       needs of the case. Plaintiffs are attempting to begin litigating a new case within a case,
           14       but not only have Plaintiffs failed to provide any credible explanation for why they could
           15       not have moved for this discovery at an earlier stage, but Apple has already produced
           16       voluminous discovery on its technology, and Rockley has confirmed that it has no
           17       documents responsive to all but one of Plaintiffs’ parallel requests. Plaintiffs’ broad
           18       requests, including Plaintiffs’ request for a detailed description of “Apple’s relationship
           19       or collaboration with Rockley related to noninvasive physiological measurements” (not
           20       even tailored to the type of light-based noninvasive physiological measurements that
           21       have been at the heart of this case), go far beyond Plaintiffs’ needs in this case, and
           22       should be rejected.
           23                                        II.   BACKGROUND
           24             A.     Plaintiffs Move To Subpoena Rockley In Early April, Without Also
           25                    Seeking Parallel Discovery From Apple
           26             On April 7, 2022, Plaintiffs served a subpoena on Rockley that included 37
           27       requests for documents (later narrowed to 22). Ex. 9; see also Ex. 3 at 2-3. On May 24,
           28

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             1      2022—nearly two weeks after the close of written discovery—Plaintiffs filed a motion
             2      with the Special Master seeking to compel compliance with the subpoena. In explaining
             3      relevance, Plaintiffs’ motion raised two new legal theories for the first time in this case:
             4      (1) Apple was using Rockley as a proxy to control the defendant in the True Wearables
             5      trade secret litigation and (2) Apple was acquiring Plaintiffs’ trade secrets via Rockley.
             6      Ex. 3 at 2-3.
             7               On May 25, Rockley moved to quash the subpoena, but did not challenge the
             8      relevance of the subset of requests that it characterized as “regarding Rockley’s business
             9      and communications with Apple.”           Ex. 11 at 3-4.      Rockley later submitted a
           10       supplemental brief stating that “[i]n an effort to bring Masimo’s abusive behavior to an
           11       end,” it had “searched its files and confirm[ed] that it does not have documents
           12       responsive to Masimo’s subpoena, except for Request No. 4.” Ex. 12 at 2.2
           13                As Plaintiffs and Rockley were briefing their competing motions regarding the
           14       subpoena, Apple submitted a one-page letter on June 6, 2022 that, as relevant here,
           15       brought two points to the Special Master’s attention. Ex. 13 at 1. First, the operative
           16       complaint does not mention Rockley, much less suggest that Rockley’s technology is
           17       relevant or that Rockley and Apple were working together to defraud Plaintiffs. Id.
           18       Second, Plaintiffs’ briefing (again, filed after the close of written discovery) identified
           19       nothing suggesting that Apple and Rockley have any connection beyond Rockley
           20       serving as one of Apple’s (many) vendors. Id. When Plaintiffs filed an opposition to
           21       Apple’s letter, Apple lodged a one-page reply, observing that Plaintiffs were leveling
           22       “outrageous accusations” against Apple’s vendor “that had previously been wholly
           23       uninvolved in this litigation—apparently in an effort to lay the groundwork for future
           24       motion practice on their related discovery requests to Apple.” Ex. 14 at 1.
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                      Request No. 4, as narrowed, calls for “documents sufficient to show the technology,
           27       hardware, software, or components provided by Rockley to Apple (or vice versa)
                    related to non-invasive physiological monitoring using light,” including various
           28       physiological parameters. Ex. 20.
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             1               B.    Plaintiffs Serve Discovery Requests On Apple On The Deadline For
             2                     Written Discovery That Mirror Those In The Rockley Subpoena
             3               On May 13, 2022—the deadline to serve written discovery—Plaintiffs served
             4      fifteen RFPs and two interrogatories on Apple relating to Rockley, including the four at
             5      issue here. Ex. 4 at 9-12; Ex. 6 at 8-9.3 Many of those discovery requests, including
             6      each of those discovery requests that Plaintiffs raised in the briefing below Plaintiffs
             7      later compelled—mirror one of the original 37 requests in the Rockley subpoena. Ex.
             8      8.
             9               Apple timely responded on June 15, 2022, lodging objections on the grounds that,
           10       inter alia, the discovery requests were irrelevant, overbroad, unduly burdensome, and
           11       not proportional to the needs of the case. See Ex. 15 at 28-41; Ex. 16 at 15-17. In a
           12       letter sent on June 27, Apple further explained the basis for its objections: “[W]e are not
           13       aware of any connection between Rockley and any allegations that Plaintiffs have made
           14       in this action, and Plaintiffs have identified none.” Ex. 5 at 1; accord Ex. 7 at 1
           15       (“Plaintiffs have failed to tie Rockley to any allegations in this action.”). Accordingly,
           16       the discovery requests “appear to be simply a fishing expedition by Plaintiffs, and in no
           17       way proportional to the needs of the case.” Ex. 5 at 1; accord Ex. 7 at 1. Plaintiffs never
           18       responded.
           19                C.    The Special Master Issues Order No. 12 On The Rockley Subpoena,
           20                      Which Expressly Disclaims Any Reliance On Apple’s Arguments
           21                On July 15, 2022, the Special Master issued Order No. 12, which resolved
           22       Plaintiffs’ and Rockley’s cross-motions on the subpoena. The Special Master held that
           23       19 out of the 22 requests were at best relevant to Plaintiffs’ “offensive, non-party issue
           24       preclusion theory,” which “turns on an issue that is best decided by Judge Selna in the
           25       first instance.” Dkt. 893 at 8; see also infra p. 9.
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                     Plaintiffs served a total of 113 RFPs and 10 interrogatories on Apple that same day.
           28       Passamaneck Decl. ¶ 7.
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             1               As to the remaining three requests—Nos. 4, 15, and 17 (i.e., those that turned on
             2      Plaintiffs’ joint misappropriation theory)—the Special Master concluded that Rockley
             3      “has not—and could not reasonably have argued that the information sought … is
             4      irrelevant to the issues in dispute in this case.” Dkt. 893 at 11 (emphasis added).
             5      Although the Special Master observed that “undue burden, overbreadth, and lack of
             6      proportionality permeate many of the requests,” the Special Master ordered Rockley to
             7      submit declarations attesting that it had no documents that satisfied Requests Nos. 15
             8      and 17 in light of its “stated willingness at the hearing to submit such declarations.” Id.
             9      at 10, 11. Rockley complied with the order and submitted a sworn declaration to that
           10       effect. Ex. 23.4 The Special Master also ordered Rockley to produce documents
           11       responsive to Request No. 4 because Rockley “has not otherwise argued any specific
           12       burden that would be caused by being asked to identify and produce these documents,”
           13       albeit “with the understanding that Rockley need not produce documents and things that
           14       Rockley reasonably believes Apple also has access to.” Dkt. 893 at 11-12.
           15                Because Plaintiffs belatedly objected to Apple’s two one-page letters, the Special
           16       Master stated that “the determinations reached in this ruling do not rely on the arguments
           17       presented by Apple, making any … objection moot.” Dkt. 893 at 6.5 However, the
           18       Special Master “question[ed] why Plaintiffs are currently seeking discovery from non-
           19       party Rockley rather than beginning with discovery requests on these topics to
           20       Defendant Apple.” Id. at 8. In particular, “Plaintiffs did not specifically explain the
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                      Request No. 15 asks for “[d]ocuments regarding Apple that refer or relate to any
           24       instruction to any Rockley employee not to disclose that they work for Rockley in
                    connection with testimony given in any action relating to” Plaintiffs, True Wearables,
           25       or Lamego. Ex. 9. Request No. 17 asks for documents regarding Apple that involve
                    efforts by Apple/Rockley to recruit/hire Plaintiffs’ former employees. Id.
           26
                    5
                      Plaintiffs’ suggestion that Apple could have appealed Order No. 12, Dkt. 912-1 at 4,
           27       is thus false. Plaintiffs’ objection to even Apple’s very limited participation (two one-
                    page letters) and their strategic decision to wait months before moving to compel
           28       Apple’s production of similar discovery deprived Apple of the opportunity to do so.
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             1      reason for the delay in serving discovery on Apple compared to serving the subpoena on
             2      Rockley.” Id.
             3            D.      The Special Master Grants Plaintiffs’ Motion Requiring Apple To
             4                    Produce A Sweeping Range Of Rockley-Related Information
             5            On August 12, 2022, three hours before the close of fact discovery, Plaintiffs
             6      moved to compel production of documents and information related to nine Rockley-
             7      related discovery requests served on Apple. Dkt. 909-4. Plaintiffs’ motion made no
             8      mention of this Court’s order issued just three days earlier, which had refused to
             9      “endorse Masimo’s strategy” of introducing a new argument regarding Rockley “at this
           10       late hour when Apple effectively has not opportunity to take its own discovery
           11       potentially demonstrating that the theory cannot apply here.” Dkt. 896 at 5.
           12             The Special Master denied Plaintiffs’ motion to compel in part and granted in part
           13       as to four requests. See Dkt. 915. The Special Master ordered Apple to produce:
           14                 “All agreements or contracts between Rockley and Apple” (RFP No. 682);
           15                 “Documents regarding technology hardware, software, or components
           16                  provided by Rockley to Apple (or vice versa) related to non-invasive
           17                  physiological monitoring using light, including pulse rate, oxygen saturation,
           18                  perfusion index, total hemoglobin, oxygen content, pleth variability index,
           19                  methemoglobin, carboxyhemoglobin, respiration rate from the pleth, or blood
           20                  glucose” (RFP No. 683);
           21              “Documents regarding, or communications with, Rockley that refer or relate
           22                  to any effort (by Apple or Rockley) to recruit or hire individuals who at any
           23                  time worked for Masimo or Cercacor” (RFP No. 691); and
           24              Information “[d]escrib[ing] in detail Apple’s relationship or collaboration with
           25                  Rockley related to noninvasive physiological measurements, including:
           26                  Rockley’s technology, hardware, software, or components provided or used by
           27                  Apple; Apple’s technology, hardware, software, or components provided or
           28

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             1               used by Rockley; joint efforts to develop, modify, change, or test technology,
             2               hardware, software, or components; agreements or suggestions to share
             3               technology, hardware, software, or components; actual or contemplated
             4               payments or conveyances of other things or services of value” (Interrogatory
             5               No. 28).
             6            While the Special Master “defer[red] to [this Court] to determine whether
             7      Plaintiffs can maintain” a theory that Rockley was a joint-misappropriator in light of the
             8      August 9 ruling, the Special Master stated that “the information sought in [the four live
             9      requests] relates to the technology at issue in Plaintiffs’ trade secret misappropriation
           10       claims, and is at least marginally relevant for that reason.” Dkt. 915 at 11. Specifically:
           11              RFP No. 682 (which seeks “all agreements or contracts between Rockley and
           12                Apple”) was granted “because of the possible relevance of the information
           13                sought to damages in this case.” Id. at 8.
           14              RFP No. 683 (which seeks documents regarding certain technology “provided
           15                by Rockley to Apple (or vice versa)”) was granted because “sufficient basis
           16                supports the relevance of the information sought to Plaintiffs’ trade secret
           17                misappropriation claims in this case, including as to Apple Watch prototypes.”
           18                Id.
           19              RFP No. 691 (which seeks documents or communications with Rockley that
           20                refer to any Apple/Rockley efforts to recruit or hire Masimo or Cercacor
           21                employees) was granted without explanation. Id. at 9.
           22              Interrogatory No. 28 (which asks for a detailed description of “Apple’s
           23                relationship or collaboration with Rockley related to non-invasive
           24                physiological measurements”) was granted on the basis that “Interrogatory No.
           25                28 is sufficiently tailored and proportional to the needs of this case.” Id. at 10.
           26                The Special Master rejected Apple’s proposal to limit the interrogatory to
           27                “light-based non-invasive physiological measurements.” Id.
           28

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             1      Beyond the Special Master’s passing statement that Interrogatory No. 28 was
             2      “proportional” to the needs of the case, the Special Master did not directly address
             3      Apple’s proportionality arguments. See, e.g., Dkt. 915 at 10-11 (dismissing fact that
             4      Apple had produced voluminous discovery regarding its technology because this
             5      argument failed to address Plaintiffs’ “relevance” arguments).
             6            The Special Master’s order set a seven-day deadline for the production of the
             7      Rockley discovery materials. Dkt. 915 at 11. Apple filed a timely stay request with the
             8      Special Master on Friday, September 9 (the day after the order issued), and an ex parte
             9      request for a stay with this Court on Monday, September 12 after learning that the
           10       Special Master was unavailable. See Dkt. 909 at 4. This Court granted the request on
           11       September 15. Dkt. 914.
           12                                       III.   LEGAL STANDARD
           13             Under this Court’s order appointing the Special Master, this Court reviews de
           14       novo all objections to findings of fact and conclusions of law. See Dkt. 470 at 4; accord
           15       Fed. R. Civ. P. 53(f)(3)-(4).
           16             Federal Rule of Civil Procedure 26(b)(1) permits discovery “regarding any non-
           17       privileged matter that is relevant to any party’s claim or defense and proportional to the
           18       needs of the case[.]” The “claim or defense” language was added in 2000 in order to
           19       ensure that “discovery would no longer be used to troll for new claims or causes of
           20       action, but that the requested discovery was relevant to the specific claims and defenses
           21       before the court.” Vantage Mobility Int’l, LLC v. Kersey Mobility, LLC, 2020 WL
           22       3103945, at *3 (D. Ariz. June 11, 2020) (quoting Franklin v. United States, 2013 WL
           23       11336865, at *2 (D.N.M. Aug. 28, 2013)); see also Monte H. Greenawalt Revocable
           24       Trust v. Brown, 2013 WL 6844760, at *3 (D. Nev. Dec. 19, 2013) (“This prevents
           25       litigants from engaging in ‘fishing expeditions’ that may expose the defendant to claims
           26       not previously asserted in the plaintiff’s complaint.”). Moreover, as this Court has
           27       explained, the parties should not be permitted to “introduce different legal theories and
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             1      require proof of different facts at this stage in the litigation,” “especially” when doing
             2      so would prejudice the non-moving party by depriving it of the opportunity to seek
             3      reciprocal discovery. Dkt. 896 at 6.
             4            In determining proportionality, courts “consider[] the importance of the issues at
             5      stake in the action, the amount in controversy, the parties’ relative access to relevant
             6      information, the parties’ resources, the importance of the discovery in resolving the
             7      issues, and whether the burden or expense of the proposed discovery outweighs its likely
             8      benefit.” Fed. R. Civ. P. 26(b)(1).
             9                                        IV.    ARGUMENT
           10             A.     This Court’s August 9 Order Precludes Plaintiffs From Raising New
           11                    Legal Theories About Rockley At This Late Stage
           12             Although this Court’s August 9 Order addressed only Plaintiffs’ collateral
           13       estoppel theory of relevance in seeking Rockley-related discovery, its reasoning was not
           14       limited to that context. Rather, this Court relied on the general principle that a party
           15       should not be permitted to “advance different legal theories and require proof of different
           16       facts” at a late stage, where the non-moving party would be prejudiced. Dkt. 896 at 6;
           17       AmerisourceBergen Corp. v. Dialysist W., Inc., 465 F.3d 946, 953 (9th Cir. 2006);
           18       accord Corus Realty Holdings v. Zillow Grp. Inc., 2020 WL 488545, at *9 (W.D. Wash.
           19       Jan. 30, 2020) (excluding new infringement arguments where patentee “deprived
           20       [defendant] of any realistic ability to conduct discovery on [patentee’s] new theories”).
           21             Since Plaintiffs first sought discovery from Rockley—more than 26 months after
           22       this case was filed—they primarily relied on two theories of relevance: the collateral
           23       estoppel theory that is explicitly barred by the August 9 Order and the joint
           24       misappropriation theory. Supra pp. 3-4. As with their collateral estoppel theory,
           25       Plaintiffs did not present their joint-misappropriation theory “until [they] asked the
           26       Special Master to intervene on its behalf after the written-discovery cut-off.” Dkt. 896
           27       at 5-6. And likewise, this delay prejudiced Apple by preventing it from seeking
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             1      reciprocal discovery (e.g., “documents Plaintiffs have connecting … Apple to Rockley”
             2      or “which of Plaintiffs’ former employees went to work at … Rockley”), see id. All the
             3      Rockley-related discovery should therefore be barred.
             4            The Special Master’s ruling adopted a new theory of “marginal[] relevan[ce]”—
             5      i.e., that Rockley supplied Apple with unspecified “similar technology” that “relates to”
             6      that at issue in this case. Dkt. 915 at 11. Plaintiffs did not properly preserve this
             7      argument, which was first raised in their August 26, 2022 reply brief with regards to a
             8      single discovery request at issue here (RFP No. 682). See Zamani v. Carnes, 491 F.3d
             9      990, 997 (9th Cir. 2007) (“The district court need not consider arguments raised for the
           10       first time in a reply brief.”); see also Ex. 21 at 3. In any event, if anything, the “similar
           11       technology” argument creates even greater problems under this Court’s August 9 order
           12       than the “joint misappropriator” argument, as it was raised for the first time two weeks
           13       after the close of fact discovery (as opposed to after the deadline for written discovery).
           14             Plaintiffs have also argued that
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           16                                                          Dkt. 911-3 at 55:12-56:8; see also Dkt.
           17       911 at 1. But Rockley’s purported connection to True Wearables says nothing about its
           18       ties to Apple except under the collateral estoppel theory that this Court has already held
           19       Plaintiffs cannot pursue. See Dkt. 896 at 2, 6 (holding that Rockley could not raise a
           20       theory under which “Apple exerted control over the True Wearables litigation …
           21       through a proxy, Rockley Photonics”). And Plaintiffs were aware of Rockley’s status
           22       as a supplier of technology to Apple months ago, as Apple subpoenaed several Rockley
           23       employees and deposed one of them in the parallel ITC proceeding. See Ex. 12 at 2. In
           24       any event, the Rockley employees testified at the True Wearables trial on March 19,
           25       2022. See Dkt. 912-2 at 25 (dated transcript). Plaintiffs provide no clear reason why
           26       they waited nearly two months after the relevant testimony to serve their discovery
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             1      requests on Apple, much less why they waited three months more to file their motion to
             2      compel.
             3               Finally, Plaintiffs have baselessly argued that Apple and Rockley “coordinated”
             4      and “orchestrated” a delay in the production of discovery, Dkt. 911-1 at 7, relying solely
             5      on the fact that Rockley argued that Plaintiffs should seek documents directly from
             6      Apple, id.; see also id. 1, 5. This is both misleading and entirely a problem of Plaintiffs’
             7      own making. As to the former, Rockley informed the Special Master that it did not have
             8      21 of 22 categories of documents that Plaintiffs sought. Ex. 12 at 4. As to the latter,
             9      Plaintiffs created the delay by seeking discovery from Rockley long before they sought
           10       discovery from Apple. Had they served their discovery on Apple on the same day as—
           11       or even before—they sought discovery from Rockley, all these disputes could have been
           12       resolved together. Instead, Plaintiffs strategically chose to wait.
           13                B.    None Of The Rockley Discovery Requests Is Relevant
           14                The Special Master also erred in finding the four discovery requests to be relevant
           15       (or, more precisely, “marginally relevant”). Specifically, the Special Master found
           16       relevance because Rockley produces “similar technology” to that at issue in this
           17       litigation. Dkt. 915 at 10-11. Plaintiffs have identified nothing in the record that
           18       supports this theory. To the contrary, they elicited testimony from Apple’s Vice
           19       President of Hardware Technologies that
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           23                                               Ex. 17 at 196-197, 199.6
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                      Plaintiffs’ ex parte opposition accused Apple of “cit[ing] its own brief as support” for
           27       this point. Dkt. 911-1 at 4. To be clear, Apple’s brief in front of the Special Master
                    quoted the testimony above. Dkt. 909-5 at 4. To remove any doubt, Apple cites
           28       directly to the deposition testimony that Plaintiffs’ counsel elicited.
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             1            Tellingly, Plaintiffs’ only support for the “similar technology” point was
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             3
             4                                      Dkt. 911-3 at 35:1-14; Ex. 21 at 3 (citing only Apple
             5      witness’s testimony that
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             7
             8
             9              See Dkt. 911-3 at 36:18-38:13, 39:1-17. But that gets the analysis precisely
           10       backwards. The moving party has the burden to show relevance, Bouissey v. Swift
           11       Transp. Co., 2022 WL 3013070, at *2 (C.D. Cal. June 21, 2022), and Plaintiffs have had
           12       myriad opportunities to establish that Rockley’s technology is connected to this case.
           13       That they have failed to do so—even after taking 24 depositions of Apple employees—
           14       is ample proof that they cannot.
           15             Indeed, if Plaintiffs are permitted to rely solely on attorney speculation to establish
           16       Rockley’s relevance, a trade secret case plaintiff would be free to seek invasive
           17       discovery into any supplier of the defendant, regardless of how attenuated the supplied
           18       component is from the technology at issue. That cannot be right. See Motorola Sols.,
           19       Inc. v. Hytera Comms. Corp., 495 F. Supp. 3d 687, 703 (N.D. Ill. Oct. 19, 2020)
           20       (“whether other companies implemented similar technologies [to plaintiff’s] was not
           21       relevant to whether [defendant] stole and implemented [plaintiff]’s [trade secrets]”).
           22             In opposing Apple’s ex parte request for a stay, Plaintiffs raised a number of
           23       meritless relevance arguments. See Dkt. 911-1 at 3-4. First, Plaintiffs contend that “the
           24       specifics of Apple’s agreement to license or purchase Rockley” technology is relevant
           25       to the reasonable royalty in this case. Id. at 3. But as explained, Plaintiffs have not
           26       pointed to evidence that the Rockley technology is similar to what is at issue in this
           27       lawsuit and the evidence that does exist suggests it is not. Supra pp. 11-12. In any event,
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             1      this rationale would only clearly apply to one of the discovery requests at issue (RFP
             2      No. 682).
             3            Second, Plaintiffs argue that the requested discovery could show that Apple
             4      conspired with Rockley to misappropriate Plaintiffs’ trade secrets (or to recruit
             5      Plaintiffs’ former employees to do so). Dkt. 911-1 at 3. But even the Special Master
             6      declined to adopt this joint-misappropriation theory, and for good reason—it was raised
             7      at the same time as the collateral estoppel theory and thus is barred under the August 9
             8      ruling. See supra pp. 7, 9-10. And again, Plaintiffs do not identify even the thinnest
             9      factual basis for this assertion. Indeed, Rockley has stated that it has no documents on,
           10       inter alia, “any effort (by Apple or Rockley) to recruit or hire individuals who at any
           11       time worked for Masimo or Cercacor” (narrowed Request No. 17) or “Rockley’s
           12       relationship, collaboration, or coordination with Apple relating to … Masimo[] or
           13       Cercacor” (narrowed Request No. 1), supra p. 11, strongly indicating that such
           14       documents do not exist. This Court need not—and should not—“condone the use of
           15       discovery to engage in [a] fishing expedition[].” Rivera v. NIBCO, Inc., 364 F.3d 1057,
           16       1072 (9th Cir. 2004); see also Hope Med. Enterprises, Inc. v. Fagron Compounding
           17       Servs., LLC, 2020 WL 5913898, at *6 (C.D. Cal. July 10, 2020) (declining to compel
           18       response where moving party’s relevance argument was “purely speculative and not
           19       relevant to any claim or defense”).
           20             Finally, Plaintiffs argue that the requested information must not be “wholly
           21       irrelevant” because Apple would otherwise have simply produced it. Dkt. 911-1 at 4. If
           22       taken seriously, that logic would mean that by opposing a motion to compel, the non-
           23       moving party would be conceding relevance. It ignores that litigants have no obligation
           24       to produce irrelevant documents and may have numerous legitimate reasons not to do
           25       so. Here, for example, Apple has no desire to unnecessarily hand over to Plaintiffs’
           26       counsel, or anyone else, sensitive information about Apple’s business and technology
           27       that have no connection to this case. That Plaintiffs consider themselves to be a
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             1      competitor of Apple’s only compounds the concern. In addition, Apple has important
             2      reputational interests at stake—it does not want to even implicitly credit Plaintiffs’
             3      outrageous accusations that Apple and its supplier conspired to manipulate the True
             4      Wearables trial and/or steal Plaintiffs’ trade secrets.
             5               C.     At Minimum, The Rockley Discovery Is Not Proportional To The
             6                      Needs Of This Case
             7               Even assuming that the Special Master was right that the requested discovery is
             8      “marginally relevant,” Dkt. 915 at 11, it should be rejected because it is not
             9      proportional to the needs of the case for three reasons.
           10                First, Plaintiffs have already received substantial discovery on the same basic
           11       issues.       For example, Apple has produced technical documents (and related
           12       communications) in response to multiple RFPs previously served by Plaintiffs, some of
           13       which concern various physiological parameters listed in RFP No. 683, including RFP
           14       Nos. 56, 66, 82, 234, 331, 351, 355, 368, 403-406, 417-419, and 532. Rockley has
           15       searched its files and found no documents to 21 out of the 22 topics covered by Plaintiffs’
           16       subpoena. Supra p. 11.7 And Apple has responded to Plaintiffs’ discovery requests
           17       about Apple’s communications with Rockley regarding this case, explaining that
           18                                                                                               See
           19       Ex. 16 at 17.
           20                Second, Plaintiffs’ requests are overbroad.       Perhaps the best example is
           21       Interrogatory No. 28, which requests “detail[ed]” information about “Apple’s
           22       relationship or collaboration with Rockley related to non-invasive physiological
           23       measurements.” Dkt. 915 at 10. As Apple explained to the Special Master,
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           26       7
                      Notably, Rockley submitted a sworn declaration that it had no responsive documents
                    to Topic No. 17, which mirrors (and indeed appears to be even broader than) RFP No.
           27       691 (i.e., documents “regarding” Apple’s efforts to hire Plaintiffs’ employees). See
                    Ex. 23 at 2; Ex. 4 at 9. Plaintiffs have identified no real-world scenario where Rockley
           28       would have no documents on that topic but Apple would.
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             2                           Dkt. 911-3 at 49:8-15 (emphasis added). This distinction matters
             3      because the term “noninvasive physiological measurements” standing alone is
             4      incredibly broad, and could—for example—include
             5                                                                                                   Id. at
             6      49:16-20. Because Interrogatory No. 28 is written using such a broad and vague term,
             7      its “overbreadth [and] lack of proportionality [is] apparent from the face of” the request.
             8      Zakikhani v. Hyundai Motor Co., 2022 WL 2189539, at *3 (C.D. Cal. May 12, 2022).8
             9               Finally, it is simply too late in the day for Plaintiffs to add yet another legal
           10       theory—which amounts to an allegation of misappropriation by a non-party—into this
           11       complex and long-running litigation. Even after taking 24 depositions of Apple
           12       witnesses and receiving discovery on related topics, see supra pp. 11-14, Plaintiffs are
           13       still unable to identify anything more than a contrived, conspiratorial relationship
           14       between Apple and Rockley. Such a speculative, “eve of the close of discovery”
           15       motion should not be permitted to derail the case’s “firm track to trial.” Dkt. 816 at 10
           16       n.6. In short, as this Court instructed in the August 9 ruling, Apple should not be
           17       required “to scramble” to prepare new arguments and defenses months after the close
           18       of written discovery and with trial looming. Dkt. 896 at 6.
           19                                           V.     CONCLUSION
           20                For the foregoing reasons, Apple respectfully requests that the Court sustain
           21       Apple’s objections to the Special Master’s Discovery Order No. 15.
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           27       8
                     Similarly, RFP No. 682 seeks “all agreements or contracts” without any “temporal or
                    other reasonable limitation.” Shuckett v. Dialamerica Mktg., Inc., 2018 WL 4350123,
           28       at *5 (S.D. Cal. Sept. 10, 2018).
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             1      Dated: September 19, 2022             Respectfully submitted,
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